          Case 1:20-vv-00507-UNJ Document 27 Filed 10/13/21 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0507V
                                        UNPUBLISHED


    LISA BARNO,                                             Chief Special Master Corcoran

                        Petitioner,                         Filed: September 8, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Tetanus Diphtheria
                                                            acellular Pertussis (Tdap) Vaccine;
                       Respondent.                          Shoulder Injury Related to Vaccine
                                                            Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On April 27, 2020, Lisa Barno filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) as a result of a Tdap vaccine received on December 21, 2018.
Petition at 1. Petitioner further alleges that her symptoms began within 48 hours of
vaccination and lasted for more than six months. Id. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On September 7, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at

1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:20-vv-00507-UNJ Document 27 Filed 10/13/21 Page 2 of 2




1. Specifically, Respondent agrees that Petitioner had no history of pain or decreased
range of motion (ROM) of her left shoulder prior to vaccine administration that would
explain the alleged signs, symptoms, examination findings, and/or diagnostic studies
occurring after vaccination; Petitioner suffered the onset of pain within 48 hours of vaccine
administration; Petitioner’s pain and ROM were limited to the shoulder in which the
vaccine was administered; and there is no other condition or abnormality present that
would explain Petitioner’s symptoms. Id. at 5. Respondent further agrees that the case
was timely filed, the vaccine was received in the United States, and Petitioner satisfies
the statutory severity requirement by suffering the residual effects or complications of her
injury for more than six months after vaccine administration. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




                                             2
